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 8                                  UNITED STATES DISTRICT COURT

 9                                CENTRAL DISTRICT OF CALIFORNIA

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11   SMITA SANGHVI, et al.                            CV 20-11437 PA (JCx)

12                  Plaintiffs,                       JUDGMENT

13          v.

14   COUNTY OF SAN BERNARDINO, et al.,

15                  Defendants.

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17
            Pursuant to plaintiffs Smita Sanghvi and Mountain View Centers Inc.’s (“Plaintiffs”)
18
     voluntary dismissals of defendants Eduardo de la Cruz, Cinty K. Sanchez, and the Wise & Healthy
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     Aging Long Term Care Ombudsman dated March 18, 2021 and April 20, 2021 (Dkt. Nos. 46, 66),
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     along with the Court’s April 15, 2021 Order granting defendants Adrien Picazo, Jesse Archer, and
21
     the County of San Bernardino’s Motion to Dismiss (Dkt. No. 63) and Plaintiffs’ April 20, 2021
22
     Notice of Intent not to Amend First Amended Complaint and to Stand on First Amended Complaint
23
     as Filed (Dkt. No. 64),
24
            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
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            1.      Judgment is entered in favor of Defendants;
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            2.      Plaintiffs take nothing;
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            3.      The action is dismissed with prejudice; and
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 1          4.       Defendants are entitled to their costs of suit pursuant to Federal Rule of Civil
 2   Procedure 54.
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 4
      DATED: April 22, 2021                               ___________________________________
 5                                                                     Percy Anderson
                                                             UNITED STATES DISTRICT JUDGE
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